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                                                    10                        UNITED STATES DISTRICT COURT
                                                    11                      SOUTHERN DISTRICT OF CALIFORNIA
                           Costa Mesa , CA 926 26




                                                    12      Timothy Barrett, Individually         Case No.: 13-CV-00939-BEN-NLS
                                                    13      and On Behalf of All Others
                                                            Similarly Situated,                   CLASS ACTION
                                                    14
                                                    15                          Plaintiff,        NOTICE OF SETTLEMENT
                                                            v.
                                                    16
                                                    17      Ecom Interactive, LLC d/b/a
                                                            ZBiddy d/b/a ZBiddy.com,
                                                    18                                            Judge: Hon. Roger T. Benitez
                                                    19                          Defendant.

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                                                         NOTICE OF SETTLEMENT
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                                                               NOTICE IS HEREBY GIVEN that this case has been settled in its entirety,
                                                     2
                                                         on an individual basis. The Parties anticipate filing a Joint Motion for Dismissal
                                                     3
                                                         with prejudice as to the named plaintiff and without prejudice as to the putative
                                                     4
                                                         class within 40 days. Plaintiff requests that all pending dates and filing
                                                     5
                                                         requirements be vacated and that the Court set a deadline on or after October 28,
                                                     6
                                                         2013 for filing a Joint Dismissal.
                                                     7
                                                     8                                               Respectfully submitted,
                                                     9   Dated: September 23, 2013                   KAZEROUNI LAW GROUP, APC
Kazerouni Law Group, APC




                                                    10                                               BY: /S/ ABBAS KAZEROUNIAN
                                                    11                                                   ABBAS KAZEROUNIAN, ESQ.
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                                                                                                         ATTORNEYS FOR PLAINTIFF
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                                                         NOTICE OF SETTLEMENT
                                                         CASE NO.: 13-CV-00939   BEN NLS         2
